                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
        v.                                      )        No. 3:16-00117
                                                )        Judge Sharp
ROBERT F. ARNOLD,                               )
JOE E. RUSSELL, II and                          )
JOHN VANDERVEER                                 )

                                               ORDER

        For the reasons set forth in the accompanying Memorandum, the Court rules as follows:

        (1) Defendant Arnold’s Motion for Bill of Particulars (Docket No. 69) is hereby GRANTED IN

PART and DENIED IN PART. The Motion is GRANTED with respect to Requests 2 and 5, but DENIED

with respect to Requests 1, 3, 4, and 6. Within TEN DAYS of the date of entry of this Order, the

Government shall file a bill of particulars answering Requests 2 and 5.

        (2) The Motions to Join in the Motion for Bill of Particulars filed by Defendant Russell (Docket

No. 71) and Defendant Vanderveer (Docket No. 72) are hereby GRANTED.

        (3) The Government’s Motion to Substitute Pleading (Docket No. 60) is hereby GRANTED. With

that substitution, the Government’s Sealed Motion for Inquiry (Docket No. 56) and Defendant Russell’s

Motion to Strike (Docket No. 57) are DENIED AS MOOT.

        (4) The Court will hold a hearing on (a) the Government’s Amended Motion Regarding Eligibility

for Appointed Counsel (Docket No. 61); (b) Defendant Russell’s Motion to Strike (Docket No. 63); (c)

Defendant Vanderveer’s Motion to Strike Discovery Protective Order (Docket No. 73); and (d) Defendant

Russell’s Motion for Appointment of Co-Counsel (Docket No. 80). Said hearing will be held on Thursday,

October 20, 2016, commencing at 10:30 a.m.

        It is SO ORDERED.



                                                         ____________________________________
                                                         KEVIN H. SHARP
                                                         UNITED STATES DISTRICT JUDGE




  Case 3:16-cr-00117          Document 87           Filed 09/30/16    Page 1 of 1 PageID #: 478
